8:11-cv-00401-BCB-MDN Doc # 1 Filed: 09/14/11 Page 1 of 16 - Page ID # 1
8:11-cv-00401-BCB-MDN Doc # 1 Filed: 09/14/11 Page 2 of 16 - Page ID # 2
8:11-cv-00401-BCB-MDN Doc # 1 Filed: 09/14/11 Page 3 of 16 - Page ID # 3
8:11-cv-00401-BCB-MDN Doc # 1 Filed: 09/14/11 Page 4 of 16 - Page ID # 4
8:11-cv-00401-BCB-MDN Doc # 1 Filed: 09/14/11 Page 5 of 16 - Page ID # 5
8:11-cv-00401-BCB-MDN Doc # 1 Filed: 09/14/11 Page 6 of 16 - Page ID # 6
8:11-cv-00401-BCB-MDN Doc # 1 Filed: 09/14/11 Page 7 of 16 - Page ID # 7
8:11-cv-00401-BCB-MDN Doc # 1 Filed: 09/14/11 Page 8 of 16 - Page ID # 8
8:11-cv-00401-BCB-MDN Doc # 1 Filed: 09/14/11 Page 9 of 16 - Page ID # 9
8:11-cv-00401-BCB-MDN Doc # 1 Filed: 09/14/11 Page 10 of 16 - Page ID # 10
8:11-cv-00401-BCB-MDN Doc # 1 Filed: 09/14/11 Page 11 of 16 - Page ID # 11
8:11-cv-00401-BCB-MDN Doc # 1 Filed: 09/14/11 Page 12 of 16 - Page ID # 12
8:11-cv-00401-BCB-MDN Doc # 1 Filed: 09/14/11 Page 13 of 16 - Page ID # 13
8:11-cv-00401-BCB-MDN Doc # 1 Filed: 09/14/11 Page 14 of 16 - Page ID # 14
8:11-cv-00401-BCB-MDN Doc # 1 Filed: 09/14/11 Page 15 of 16 - Page ID # 15
8:11-cv-00401-BCB-MDN Doc # 1 Filed: 09/14/11 Page 16 of 16 - Page ID # 16
